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14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN FRANCISCO DIVISION
16
     UNITED STATES OF AMERICA,                      )   CASE NO. 3:21-71156-MAG
17                                                  )
             Plaintiff,                             )   STIPULATION AND ORDER TO CONTINUE
18                                                  )   HEARING AND EXCLUDE TIME UNDER THE
        v.                                          )   SPEEDY TRIAL ACT AND FED. R. CRIM. P. 5.1
19                                                  )
     JULI MAZI,                                     )
20                                                  )
             Defendant.                             )
21                                                  )

22

23           Defendant Juli Mazi made an initial appearance in this case on July 15, 2021. Defendant Mazi
24 was released on pretrial services supervision, $100,000 bond, and release conditions. The Court ordered

25 that Defendant Mazi’s preliminary hearing be held on August 5, 2021, at 10:30 a.m. At the parties’

26 request, the Court previously continued the preliminary hearing four times and excluded time under the
27 Speedy Trial Act from August 5, 2021, through December 9, 2021. Defendant Mazi waived the

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 1 preliminary hearing, and on December 9, 2021, the Court ordered an arraignment to be conducted on

 2 January 12, 2022, and excluded time under the Speedy Trial Act from December 9, 2021, through

 3 January 12, 2022. At the parties’ request, the Court previously continued the arraignment to and

 4 excluded time under the Speedy Trial Act from January 12, 2022, through January 28, 2022.

 5          The parties have met and conferred and request that this matter be continued from January 28,

 6 2022, to February 3, 2022. Counsel for Defendant Mazi and counsel for the United States stipulate that

 7 time be excluded under the Speedy Trial Act from January 28, 2022, through February 3, 2022.

 8 Defendant Mazi also waives through February 3, 2022, the time in which the government is required to

 9 file an information or indictment under 18 U.S.C. § 3161(b).

10          The parties stipulate and agree that the exclusion of time is appropriate under the

11 circumstances—including the current pandemic and shelter-in-place orders—in order to give the parties

12 an opportunity to negotiate the possibility of a pre-indictment resolution, to give defense counsel time to

13 review discovery, which the government represents involves, among other items, thousands of pages of

14 patient medical and billing records, reports of investigation, and recordings of recorded conversations,

15 and to give the government additional time to return and file an indictment or information. See 18

16 U.S.C. §§ 3161(b), 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii), and 3161(h)(7)(B)(iv); see also United States v.

17 Pete, 525 F.3d 844, 852-53 (9th Cir. 2008) (“the STA makes no distinction regarding the applicability of

18 the exclusions under § 3161(h)(1) to the pre-indictment period (governed by § 3161(b)) and the pretrial

19 period (governed by §§ 3161(c) and (e)).”); United States v. Murray, 771 F.2d 1324, 1328 (9th Cir.

20 1985) (“In cases of relative complexity, with multiple defendants and ongoing investigations such as

21 here, it may be quite unreasonable to expect the preparation and return of an indictment within thirty

22 days…. In the case at bar, efficiency and economy were definitely served by the sixty day extension.”).

23          The parties further stipulate and agree that the ends of justice served by excluding time from

24 January 28, 2022, through February 3, 2022, from computation under the Speedy Trial Act outweigh the

25 best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A) & (B)(ii)-

26 (iv).
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 1          SO STIPULATED.

 2

 3 Dated: January 27, 2022                                STEPHANIE M. HINDS
                                                          United States Attorney
 4

 5                                                               /s/
                                                          KATHERINE M. LLOYD-LOVETT
 6                                                        Assistant United States Attorney
                                                          SRIDHAR BABU KAZA
 7                                                        Trial Attorney

 8 Dated: January 27, 2022
                                                                /s/
 9                                                        PHILIP A. SCHNAYERSON
                                                          Counsel for Defendant Juli Mazzi
10

11

12                                                    ORDER

13          Pursuant to the stipulation of the parties, the arraignment currently set for January 28, 2022, is

14 HEREBY CONTINUED to February 3, 2022.

15          Based upon the facts set forth in the stipulation of the parties and for good cause shown, the

16 Court finds that failing to exclude the time from January 28, 2022, through and including February 3,

17 2022, would unreasonably deny defense counsel and Defendant Mazi the reasonable time necessary for

18 effective preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

19 The Court also finds that excluding the time from January 28, 2022, through and including February 3,

20 2022, is appropriate in light of the complexity of the case, and the amount of time necessary to return

21 and file an indictment under the circumstances, including the current pandemic, within the time

22 specified by 18 U.S.C. § 3161(b). See 18 U.S.C. §§ 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii); see also

23 United States v. Pete, 525 F.3d 844, 852-53 (9th Cir. 2008) (“the STA makes no distinction regarding

24 the applicability of the exclusions under § 3161(h)(1) to the pre-indictment period (governed by §

25 3161(b)) and the pretrial period (governed by §§ 3161(c) and (e)).”); United States v. Murray, 771 F.2d

26 1324, 1328 (9th Cir. 1985) (“In cases of relative complexity, with multiple defendants and ongoing
27 investigations such as here, it may be quite unreasonable to expect the preparation and return of an

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 1 indictment within thirty days…. In the case at bar, efficiency and economy were definitely served by the

 2 sixty day extension.”).

 3          The Court further finds that the ends of justice served by excluding the time January 28, 2022,

 4 through and including February 3, 2022, from computation under the Speedy Trial Act outweigh the

 5 best interests of the public and the defendants in a speedy trial.

 6          Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from

 7 January 28, 2022, through and including February 3, 2022, shall be excluded from computation under

 8 the Speedy Trial Act. 18 U.S.C. §§ 3161(h)(7)(A), (B)(ii)-(iv). The Court also orders that the time

 9 in which the government is required to file an information or indictment under 18 U.S.C. § 3161(b) is

10 waived with the consent of the Defendant through February 3, 2022.

11            IT IS SO ORDERED.

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14     Dated: January 27, 2022                               HON. SALLIE KIM
                                                             United States Magistrate Judge
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